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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

                                CASE NO. 23-80101-CR-CANNON

   UNITED STATES OF AMERICA,

          Plaintiff,
   v.

   WALTINE NAUTA, and
   CARLOS DE OLIVEIRA,

          Defendants.
                                       /

        ORDER GRANTING DEFENDANTS’ EMERGENCY MOTION TO PRECLUDE
        RELEASE OF VOLUME II OF SPECIAL COUNSEL’S REPORT AND DENYING
       WITHOUT PREJUDICE PRESIDENT-ELECT TRUMP’S MOTION TO INTERVENE

          THIS CAUSE comes before the Court upon the Emergency Motion to Preclude Release

   of Volume II of Special Counsel’s Report (“Emergency Motion”), filed by Defendants Nauta and

   De Oliveira [ECF No. 679], as well as President-Elect Trump’s Motion to Intervene or Alternative

   Request to Participate as Amicus [ECF No. 681]. 1 As narrowed by the Court’s prior Order on

   Volume I, which has since been publicly released [ECF Nos. 697, 702], the Emergency Motion

   seeks to preclude the Department of Justice (“Department”)—prior to the conclusion of proceed-

   ings in this criminal action—from releasing a redacted version of Volume II of Special Counsel

   Smith’s Report for in camera review by the Chairmen and Ranking Members of the House and

   Senate Judiciary Committees [ECF No. 712]. Volume II contains voluminous and detailed Rule




   1
    The motions addressed in this Order were filed prior to President-Elect Trump becoming Presi-
   dent on January 20, 2025.
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   16 discovery about the allegations in this criminal case, which remains pending on appeal as to

   Defendants Nauta and De Oliveira [ECF Nos. 672, 673]. See 11th Cir. Appeal No. 24-12311. 2

          Following a hearing and review of all relevant filings, including an in camera review of

   Volume II itself, Defendants’ Emergency Motion is GRANTED as to Volume II [ECF No. 679],

   and President-Elect Trump’s Motion to Intervene is DENIED WITHOUT PREJUDICE as to

   Volume II but granted as to the alternative, unopposed request to participate as amicus to challenge

   release of Volume II [ECF No. 681; ECF No. 710 p. 9; ECF No. 702 (denying motion to intervene

   as to Volume I)].

                            PROCEDURAL AND FACTUAL BACKGROUND

   1. In July 2023, now-President Trump and Defendants Nauta and De Oliveira were charged by

       Superseding Indictment with various charges related to the alleged retention of national de-

       fense information [ECF No. 85].

   2. In July 2024, after extensive briefing and a hearing, the Court dismissed the Superseding In-

       dictment as to all Defendants, concluding that Special Counsel Smith’s appointment violated

       the Appointments Clause of the United States Constitution [ECF No. 672]. 3




   2
     Nothing in this Order should be construed as a comment on, or intrusion into, the Eleventh Cir-
   cuit’s pending review of this Court’s Order Granting Defendants’ Motion to Dismiss Superseding
   Indictment [ECF No. 672]. 11th Cir. Appeal No. 24-12311. The parties have raised arguments
   concerning the authority of Special Counsel Smith to prepare or issue Volume II, but the Court
   has not considered those arguments in deciding the Emergency Motion, which concerns a discov-
   ery disclosure matter collateral to the appeal.
   3
     The Court also determined that Special Counsel Smith’s use of a permanent indefinite appropri-
   ation violated the Appropriations Clause of the Constitution but did not address the proper remedy
   for that funding violation [ECF No. 672].
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   3. Special Counsel Smith appealed the Court’s dismissal Order to the United States Court of Ap-

       peals for the Eleventh Circuit [ECF No. 673]. That appeal remains pending as to Defendants

       Nauta and De Oliveira. See 11th Cir. Appeal No. 24-12311.

   4. In November 2024, following the 2024 Presidential Election, the Special Counsel sought leave

       from the Eleventh Circuit to dismiss its appeal against President-Elect Trump. Id. (D.E. 79).

       The motion stated that dismissal as to President-Elect Trump would “leave in place the district

       court’s order dismissing the indictment without prejudice as to him.” Id. The Eleventh Circuit

       granted the motion. Id. (D.E. 81-2). 4

   5. On December 30, 2024, attorneys associated with the Special Counsel Office, “which initiated

       the criminal prosecution from which this appeal arose,” moved to withdraw as counsel in the

       appeal. Id. (D.E. 84). The motion to withdraw noted that “the Special Counsel has now re-

       ferred this case to the United States Attorney’s Office for the Southern District of Florida,

       which has separately entered an appearance.” Id. 5

   6. On January 6, 2025, Defendants Nauta and De Oliveira filed the instant Emergency Motion

       seeking to preclude release of both volumes of Special Counsel’s Final Report [ECF No. 679].

       Volume I concerns the “Election Interference Case” in the District Court for the District of

       Columbia, and Volume II concerns this case, the so-called “Classified Documents Case,”

       which is the subject of the pending appeal referenced above.




   4
    Department of Justice counsel at the January 17, 2025, hearing could not speak to the possibility
   of renewed charges against President-Elect Trump [Tr. 55–56].
   5
    On December 30, 2024, U.S. Attorney Markenzy Lapointe of the U.S. Attorney’s Office, South-
   ern District of Florida, entered an appearance in the appeal. Id. (D.E. 83). U.S. Attorney Lapointe
   has since resigned from his position, and it appears that no attorney from the Southern District of
   Florida is noticed in this case or in the pending appeal. See https://www.justice.gov/usao-
   sdfl/pr/us-attorney-markenzy-lapointe-announces-resignation.
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   7. On January 13, 2025, after a temporary reprieve pending resolution by the Eleventh Circuit of

       a similar motion docketed in the pending appeal—and after additional filings by the Depart-

       ment affirming the severability of Volumes I and II—the Court denied Defendants’ Emergency

       Motion as to Volume I and also denied President-Elect Trump’s Motion to Intervene as to

       Volume I [ECF Nos. 697, 702]. The Court reserved ruling, however, on the Emergency Mo-

       tion as to Volume II pending an expedited hearing [ECF No. 697]. That Order, which remains

       in effect pending expedited consideration and resolution of the instant Emergency Motion,

       temporarily enjoins Attorney General Garland, the Department of Justice, its officers, agents,

       officials, and employees, and all persons acting in active concert or participation with such

       individuals, from (a) releasing, sharing, or transmitting Volume II of the Final Report or any

       drafts of Volume II outside the Department of Justice, or (b) otherwise releasing, distributing,

       conveying, or sharing with anyone outside the Department of Justice any information or con-

       clusions in Volume II or in drafts thereof [ECF No. 697].

   8. A hearing on the Emergency Motion and Motion to Intervene (as narrowed to Volume II) was

       held on January 17, 2025 [ECF No. 713]. 6 The parties, along with prospective-intervenor

       President-Elect Trump, presented argument on whether to grant Defendants’ emergency re-

       quest to preclude the Department from releasing Volume II to the Chairmen and Ranking

       Members of the House and Senate Judiciary Committees for in camera review, under proposed

       conditions of confidentiality [ECF No. 703 (noting that “Chair and Ranking mem-

       bers . . . would be required to agree to specified conditions of confidentiality,” “would not be

       permitted to retain a copy of Volume Two, to take notes, or to bring in any devices that could




   6
     The hearing was held publicly except for a brief session to discuss specified contents of Volume
   II with designated counsel.
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       be used to photograph or communicate about the Volume,” and “would have to agree not to

       share information in Volume Two publicly”)]. Beyond the representations of counsel, these

       conditions of confidentiality are not memorialized in any official documentation and are

       crafted in prospective terms.

   9. All parties agree that Volume II (even in its redacted form 7) expressly and directly concerns

       this criminal proceeding and should not be released publicly. The Court’s independent in cam-

       era review of Volume II confirms this assessment. 8 Volume II includes detailed and volumi-

       nous discovery information protected by the Rule 16(d)(1) Protective Order entered in this case

       [ECF No. 27]. Much of this information has not been made public in Court filings. It includes

       myriad references to bates-stamped information provided by the Special Counsel in discovery

       and subject to the protective order, including interview transcripts, search warrant materials,

       business records, toll records, video footage, various other records obtained pursuant to grand



   7
     The Department represents that the version of Volume II it wishes to present to the Chairmen
   and Ranking Members of the House and Senate Judiciary Committees, absent a Court order pre-
   cluding such release, “protects the secrecy of matters occurring before the grand jury subject to
   Federal Rule of Criminal Procedure 6(e), as well as information sealed by court order”
   [ECF No. 708]. As noted infra, Defendants maintain challenges to disclosure of Volume II on
   Rule 6(e) grounds.
   8
     In its papers, the Department defends its position that immediate review of Volume II by mem-
   bers of Congress is warranted, despite the obvious risks of prejudice to Defendants from that dis-
   closure (addressed below). Yet the Department simultaneously protests even this Court’s own in
   camera review of Volume II for purposes of adjudicating the Emergency Motion as to Volume II
   [ECF No. 708 p. 1 (claiming in camera review of Volume II is “not necessary” to evaluate the
   prejudice to Defendants from release of Volume II to Congress)]. This objection is startling. The
   Court is tasked with determining whether review of substantive case information by Congress,
   during the pendency of a criminal proceeding, accords with Defendants’ constitutional rights, ap-
   plicable law, and this Court’s rules. Independent judicial review of the information in question is
   important to make a considered determination on those matters. It is regrettable that the Depart-
   ment would deem it appropriate to resist this Court’s in camera review of information directly
   relevant to a pending motion. The Department expressed no similar hesitation when offering to
   transmit Volume I for in camera review [ECF No. 693 p. 4 (sealed)].

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       jury subpoena, information as to which President-Elect Trump has asserted the attorney-client

       privilege in motions in this proceeding [ECF No. 571 (sealed); ECF Nos. 641, 656], potential

       Rule 404(b) evidence, and other non-public information.

   10. Prior to his separation from the Department on January 10, 2025, Special Counsel Smith pro-

       vided defense counsel with a limited and accelerated opportunity to review Volume II

       [ECF No. 690 p. 10 n.3; ECF No. 679 pp. 6–7; ECF No. 681 p. 10]. 9 Among the Department’s

       conditions for such review, defense attorneys were required to delete prior discovery produc-

       tions of material protected by the protective order in this case—and thus were unable to cross-

       reference the report with the underlying discovery for purposes of lodging specific and mean-

       ingful objections to the Report under Fed. R. Crim. P. 6(e). Defendants maintain general ob-

       jections under Rule 6(e) and request a hearing to adjudicate any contested Rule 6(e) questions

       [ECF No. 679 pp. 14–15].

   11. Current Department counsel has secondhand information about the process by which Special

       Counsel Smith made redactions for Rule 6(e), but current counsel was not involved in the

       Special Counsel’s investigation and would need additional time to access discovery databases

       to engage in a specific discussion of Rule 6(e) as applied to Volume II. Additionally, the

       Special Counsel has “referred” the criminal case to the United States Attorney’s Office for the

       Southern District of Florida. But there appears to be no counsel of record from this District in

       a position, in this emergency posture, to engage in a detailed discussion of remaining Rule 6(e)

       material in Volume II (redacted) given new counsel’s unfamiliarity with the substantial and

       complex factual record in this case [Tr. 36–37; 60–63 (sealed)].




   9
     The Court also directed the Department to give defense counsel an additional opportunity to
   review Volume II prior to the January 17, 2025, hearing [ECF No. 705].
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   12. With respect to the Department’s assertion of congressional interest in Volume II, there has

        been no subpoena by Congress for review or release of Volume II. There is no record of an

        official request by members of Congress for in camera review of Volume II as proposed by

        the Department in this case. There is, however, a recent letter by some of those same members

        urging Attorney General Garland to release Volume II to the public immediately, even if doing

        so requires dismissal of the charges as to Defendants Nauta and De Oliveira. 10 Finally, alt-

        hough the Department refers generally to “legislative interest” concerning special counsels as

        a basis to deny Defendants’ Emergency Motion as to Volume II [ECF No. 703 p. 3 n.2], the

        Department has identified no pending legislation on the subject or any legislative activity that

        could be aided, even indirectly, by dissemination of Volume II to the four specified members

        whom the Department believes should review Volume II now.

                                              LEGAL STANDARDS

           As a broad proposition whose force depends on the circumstances presented, “[f]ederal

   courts may exercise their supervisory powers to remedy violations of recognized rights, to protect

   the integrity of the federal courts, and to deter illegal conduct by government officials.” United

   States v. DiBernardo, 775 F.2d 1470, 1475–76 (11th Cir. 1985). This authority extends to a court’s

   enforcement of the Federal Rules of Criminal Procedure and its own local rules and orders, see

   generally Degen v. United States, 517 U.S. 820, 827 (1996), subject to any divestiture of jurisdic-

   tion over matters before a court of appeals, see, e.g., Griggs v. Provident Consumer Disc. Co., 459

   U.S. 56, 58 (1982). To the extent a court in a criminal case, in the exercise of proper authority,

   grants relief with injunctive effect, such an order is not treated as a traditional civil injunction, see



   10
      Letter from Ranking Member of House Committee on the Judiciary (Jan. 15, 2025), available
   at            https://democrats-judiciary.house.gov/uploadedfiles/2025-01-15_hjc_dems_to_gar-
   land_doj.pdf.
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   Fed. R. Civ. P. 65, but rather as an order rooted in the substantive protections served by the law,

   rule, or order implicated in the requested relief.

          In opposing Defendants’ Emergency Motion as to Volume II, the Department does not

   challenge the Court’s threshold authority to adjudicate the instant Emergency Motion. The De-

   partment also does not disagree that the harms and interests to be balanced in considering the

   Emergency Motion are materially the same, whether measured by the traditional civil injunction

   factors as framed in the Department’s Opposition [ECF No. 703], or viewed more generally as an

   exercise of supervisory authority in a criminal case [Tr. 37].

          A court has an affirmative duty, triggered at the inception of a criminal proceeding, to

   safeguard the due process rights of the accused. U.S. Const. amend. V; Gannett Co. v. DePas-

   quale, 443 U.S. 368, 378 (1979) (citing Sheppard v. Maxwell, 384 U.S. 333, 351 (1966)). This

   duty includes taking protective measures to ensure a fair trial and to minimize the effects of prej-

   udicial pretrial publicity, even when such measures are not “strictly and inescapably necessary.”

   Gannett Co., 443 U.S. at 378. It also includes, as further rooted in the Sixth Amendment, the right

   to a fair trial by a panel of impartial, indifferent jurors. U.S. Const. amend. VI, Neb. Press Ass’n

   v. Stuart, 427 U.S. 539, 551, 553 (1976) (quoting In re Murchison, 349 U.S. 133, 136 (1955)).

          The Local Rules of this District aid in a court’s fulfillment of its affirmative duty to safe-

   guard defendants’ rights. As relevant here, Southern District of Florida Local Rule 77.2 governs

   the release of information in criminal and civil proceedings. S.D. Fla. L.R. 77.2. It provides, in

   part, that lawyers involved in any criminal matter shall not:

          release or authorize the release of information or opinion which a reasonable person
          would expect to be disseminated by means of public communication, in connection
          with pending or imminent criminal litigation with which the lawyer or the firm is
          associated, if there is a reasonable likelihood that such dissemination will interfere
          with a fair trial or otherwise prejudice the due administration of justice.



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   Id. This principle is also embodied in the Department’s Confidentiality and Media Contacts Policy

   as written in the Justice Manual, which among other things, directs Department personnel to “re-

   frain from disclosing” substantive case information, including “[s]tatements concerning antici-

   pated evidence or argument in the case,” “except as appropriate in the proceeding or in an an-

   nouncement after a finding of guilt.” Justice Manual § 1-7.610; see Justice Manual § 1-7.600

   (“DOJ personnel shall not make any statement or disclose any information that reasonably could

   have a substantial likelihood of materially prejudicing an adjudicative proceeding.”).

          Rule 16 of the Federal Rules of Criminal Procedure gives district courts authority, for good

   cause, to grant appropriate relief concerning discovery materials in a criminal case. Fed. R. Crim.

   P. 16(d)(1). As noted, Volume II contains extensive, non-public discovery materials governed by

   Rule 16, including large quantities of “[s]tatements concerning anticipated evidence or argument

   in the case.” Justice Manual § 1-7.610(E).

                                            DISCUSSION

          Never before has the Department of Justice, prior to the conclusion of criminal proceedings

   against a defendant—and absent a litigation-specific reason as appropriate in the case itself—

   sought to disclose outside the Department a report prepared by a Special Counsel containing sub-

   stantive and voluminous case information. Until now. According to the Department, this in cam-

   era disclosure to four members of Congress is necessary right now—before the conclusion of

   criminal proceedings—because Attorney General Garland has “limited time” left in his tenure as

   the head of the Department and wishes “to comply with the historical practice of all Special Coun-

   sel,” and also because there is “legislative interest in information about Special Counsel investi-

   gations, in order to consider possible legislative reforms regarding the use of special counsels”




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   [ECF No. 703 p. 3 n.2]. 11 These statements do not reflect well on the Department. There is no

   “historical practice” of providing Special Counsel reports to Congress, even on a limited basis,

   pending conclusion of criminal proceedings. In fact, there is not one instance of this happening

   until now [see Tr. 21, 26]. During argument before this Court, counsel misleadingly referenced

   Congressional testimony by Special Counsel Weiss in 2023 as a purported example of such “his-

   torical practice” [Tr. 26]. But Special Counsel Weiss—after opposition by the Department—ulti-

   mately agreed to testify on limited matters, repeatedly refusing to answer questions regarding on-

   going litigation in order to prevent prejudice to “the rights of defendants or other individuals in-

   volved in these matters.” 12 13 [Tr. 40–41]. Here, there has been no subpoena from Congress to the

   Department for Volume II. There is no indication of pending legislative activity that could be

   aided by the proposed disclosure of Volume II to the specified members of Congress. There is no

   memorialization of any conditions of confidentiality as referenced by the Department. Indeed,

   there has been no record provided of an official request by members of Congress for review of




   11
      [Tr. 28 (“I think simply because it is the desire of this Attorney General to comply with the
   historical practice that there has always been, and his time is limited. And he appointed these
   Special Counsels, and he would like to see that the -- the historical practice of all Special Counsel,
   and his commitment to what he said that he would share with Congress is satisfied during his
   tenure.”); Tr. 28 (“[I]t’s just the Department’s determination that it would like to see this through
   to conclusion and comply with historical practice.”)].
   12
     See Interview of: David Weiss, Committee on the Judiciary, U.S. House of Representatives,
   118th Cong. p. 9 (2023), available at https://judiciary.house.gov/media/press-releases/judiciary-
   committee-releases-david-weiss-and-other-transcripts-relating-dojs.
   13
      In connection with Special Counsel Weiss’s testimony, the Department itself explained that “the
   most appropriate time for providing information about any individual ongoing criminal investiga-
   tion is after the matter is closed, especially where the matter is pending before a court and subject
   to judicial supervision, and legal and ethical bars limit what the Department can say.” Letter from
   Carlos Felipe Uriarte, Assistant Att’y Gen., U.S. Dep’t of Just., to Rep. Jim Jordan, Chairman, H.
   Comm. on the Judiciary (Sept. 22, 2023).

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   Volume II in the manner proposed by the Department. 14 To the contrary, some of the same mem-

   bers to whom the Department wishes to present Volume II have urged Attorney General Garland

   to release Volume II to the public immediately, even if doing so requires dismissal of the charges

   as to Defendants Nauta and De Oliveira. Supra n.10. In short, the Department offers no valid

   justification for the purportedly urgent desire to release to members of Congress case information

   in an ongoing criminal proceeding.

           Meanwhile, on the other side of the balance, there are two individuals in this action, each

   with constitutional rights to a fair trial, who remain subject to a live criminal appeal of this Court’s

   Order Dismissing the Superseding Indictment. 11th Cir. Appeal No. 24-1231. The Department

   has not sought leave to dismiss that appeal, initiated by the Special Counsel, and there has been no

   indication by any government official in this case that the Department will not proceed on the

   Superseding Indictment should it prevail in the Eleventh Circuit or in subsequent proceedings.15

   These Defendants thus retain—as all parties agree—due process rights to a fair trial that would be

   imperiled by public dissemination of Volume II. Yet the Department nevertheless insists upon

   disclosure of Volume II to members of Congress now, promising that conditions of confidentiality,

   “contingent on their good faith commitment,” will protect against the potential for prejudice

   [ECF No. 703 p.5]. And if Volume II gets released in whole or in part to the public in contraven-

   tion of those promises, the Department assures, then Defendants need not worry because this Court




   14
      Special Counsel Smith left no indication in his report or in his transmittal letter to Attorney
   General Garland that he favored congressional release or review of his report prior to conclusion
   of criminal proceedings [ECF No. 693-1 p. 5].
   15
      The only motion for leave the Special Counsel did file, as to President-Elect Trump, referenced
   “leav[ing] in place the district court’s order dismissing the indictment without prejudice as to him.”
   Counsel during the hearing was unable to answer whether the Department has foreclosed reiniti-
   ating criminal charges against President-Elect Trump after he leaves office.
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   can “cure” any damage caused by crafting jury instructions in the future and/or dismissing the

   charges [ECF No. 703 pp. 5–6]. These assertions flounder on multiple levels and do nothing to

   detract from the obvious. Given the very strong public interest in this criminal proceeding and the

   absence of any enforceable limits on the proposed disclosure, there is certainly a reasonable like-

   lihood that review by members of Congress as proposed will result in public dissemination of all

   or part of Volume II. See S.D. Fla. L.R. 77.2(a). That reasonable likelihood risks substantial

   prejudice to the due process rights of Defendants, who remain subject to the protective order in

   this case [ECF No. 27]. This Court lacks any means to enforce any proffered conditions of confi-

   dentiality, to the extent they even exist in memorialized form. And most fundamentally, the De-

   partment has offered no valid reason to engage in this gamble with the Defendants’ rights. The

   bare wishes of one Attorney General with “limited time” in office to comply with a non-existent

   “historical practice” of releasing Special Counsel reports in the pendency of criminal proceedings

   is not a valid reason. And surely it does not override the obvious constitutional interests of De-

   fendants in this action and this Court’s duty to protect the integrity of this proceeding. Even less

   clear is why the Department would defend this position notwithstanding its own Justice Manual,

   which expressly directs against disclosing substantive case information in a criminal case “except

   as appropriate in the proceeding or in an announcement after a finding of guilt.” Justice Manual

   § 1-7.610; see also Model Rules of Pro. Conduct, r. 3.8 (Am. Bar Ass’n 2024) (“A prosecutor has

   the responsibility of a minister of justice and not simply that of an advocate . . . .”).

           Accordingly, under any balancing of relative harms and interests, Defendants’ Emergency

   Request to Preclude Dissemination of Volume II must be granted. Whether measured against the

   traditional factors pertinent to a civil injunction as framed incorrectly by the Department or treated

   properly as an exercise of supervisory control over the flow of substantive, nonpublic information



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   to protect Defendants’ rights in a criminal case, the balancing of harms and interests yields a clear

   and decisive answer in the present posture. Release of Volume II to Congress under the proposed

   conditions—without any enforcement mechanism to prevent public dissemination, and without

   any valid countervailing reason justifying a break from traditional norms—presents a substantial

   and unacceptable risk of prejudice to Defendants.

                                                         ***

          Prosecutors play a special role in our criminal justice system and are entrusted and expected

   to do justice. Berger v. United States, 295 U.S. 78, 88 (1935); Banks v. Dretke, 540 U.S. 668, 696

   (2004); Robert H. Jackson, Attorney General of the United States, Speech to the U.S. Department

   of Justice, The Federal Prosecutor (Apr.              1, 1940), available at https://www.jus-

   tice.gov/ag/speeches-attorney-general-robert-houghwout-jackson. The Department of Justice’s

   position on Defendants’ Emergency Motion as to Volume II has not been faithful to that obligation.

                                            CONCLUSION

   1. Defendants’ Emergency Motion [ECF No. 679] is GRANTED as to Volume II, consistent

      with this Order.

   2. Attorney General Garland or his successor(s), the Department of Justice, its officers, agents,

      officials, and employees, and all persons acting in active concert or participation with such

      individuals, are enjoined from (a) releasing, sharing, or transmitting Volume II of the Final

      Report or any drafts of Volume II outside the Department of Justice, or (b) otherwise releasing,

      distributing, conveying, or sharing with anyone outside the Department of Justice any infor-

      mation or conclusions in Volume II or in drafts thereof.

   3. This Order remains in effect pending further Court order, limited as follows. No later than

      thirty days after full conclusion of all appellate proceedings in this action and/or any continued



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         proceedings in this Court, whichever comes later, the parties shall submit a joint status report

         advising of their position on this Order, consistent with any remaining Rule 6(e) challenges or

         other claims or rights concerning Volume II, as permitted by law. Any disagreements between

         the parties can be denoted separately.

   4. President-Elect Trump’s Motion to Intervene as to Volume II [ECF No. 681] is DENIED

         WITHOUT PREJUDICE, to be reasserted if warranted as permitted by law. The Court

         GRANTS President-Elect Trump’s alternative unopposed request for amicus participation on

         the Motion as to Volume II.

         ORDERED in Chambers at Fort Pierce, Florida, this 21st day of January 2025.




                                                              _________________________________
                                                              AILEEN M. CANNON
                                                              UNITED STATES DISTRICT JUDGE



   cc:      counsel of record




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